














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







No. PD-1532-07






RODGER LOU GRISSAM, Appellant



v.



THE STATE OF TEXAS






On Discretionary Review of Case 02-05-00422-CR of the


Second Court of Appeals,


Hood County






		Womack, J., delivered the opinion of the Court, in which Keller,
P.J., and Price, Johnson, Keasler, Hervey, Holcomb, and
Cochran, JJ., joined. Meyers, J., filed a dissenting opinion.



	An indictment accused the appellant of committing burglary of a habitation in each of
two ways in which such an offense can be committed: (1) by entering with intent to commit theft
or (2) by entering and thereafter committing (or attempting to commit) theft. The trial court's
charge to the jury should have explained both kinds of burglary and authorized them to convict
on either. Instead it explained one kind in the abstract statement of the law and authorized
conviction on the other in the application paragraph:

		Our law provides that a person commits the offense of burglary if, without
the effective consent of the owner, he enters a habitation with intent to commit
theft.

		

		Now if you find from the evidence beyond a reasonable doubt that
Defendant, RODGER LOU GRISSAM, in Hood County, Texas, on or about the
27th day of August, 2004, either acting alone or with Joseph LeFebvre as a party
to the offense herein before defined, did then and there intentionally or knowingly,
without the effective consent of Ashley Carey, the owner thereof, enter a
habitation and did attempt to commit or commit theft, then you will find the
defendant guilty of the offense of Burglary of a Habitation as alleged in the
indictment. [Emphases added.]


	The legal sufficiency of evidence is measured against the requirements for conviction in a
correct charge of the court (as distinguished from the charge that actually was given). Malik v.
State, 953 S.W.2d 234 (Tex. Cr. App. 1997).

	The Court of Appeals recognized that standard, but it read Malik and other decisions to
forbid it from applying any theory that was not submitted to the jury in the application paragraph
of the charge. See Grissam v. State, No. 2-05-422-CR, 2007 Tex. App. LEXIS 6843, at *8-9
(Tex. App.--Fort Worth Aug. 24, 2007) (not designated for publication).

	We said in Malik that "due process prevents an appellate court from affirming a
conviction based upon legal and factual grounds that were not submitted to the jury." 953
S.W.2d, at 238 n.3.  But that statement was followed immediately by our discussion of the
holding of a federal court of appeals that sufficiency of the evidence should be measured by the
law of parties that was in the abstract portion of the charge but not in the application paragraph,
and noting that the federal court's decision "implied that the complete absence" of the theory
from the charge may present constitutional problems. Ibid.

	In the case before us, both theories of burglary were in the charge, although only one was
in the application paragraph. The legal sufficiency of the evidence should have been measured
against the requirements for conviction under either theory of burglary.

	We vacate the judgment of the Court of Appeals and remand the case to that court for
further consideration.


Delivered September 10, 2008.

Publish.


